Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 1 of 6




               Exhibit 306
                            Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 2 of 6




Document title: My Pillow CEO Mike Lindell Permanently Suspended From Twitter : NPR
Capture URL: https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-lindell-permanently-suspended-from-twitter
Capture timestamp (UTC): Mon, 08 Feb 2021 16:53:05 GMT
                            Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 3 of 6




Document title: My Pillow CEO Mike Lindell Permanently Suspended From Twitter : NPR
Capture URL: https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-lindell-permanently-suspended-from-twitter
Capture timestamp (UTC): Mon, 08 Feb 2021 16:53:05 GMT                                                                Page 1 of 4
                            Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 4 of 6




Document title: My Pillow CEO Mike Lindell Permanently Suspended From Twitter : NPR
Capture URL: https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-lindell-permanently-suspended-from-twitter
Capture timestamp (UTC): Mon, 08 Feb 2021 16:53:05 GMT                                                                Page 2 of 4
                            Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 5 of 6




Document title: My Pillow CEO Mike Lindell Permanently Suspended From Twitter : NPR
Capture URL: https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-lindell-permanently-suspended-from-twitter
Capture timestamp (UTC): Mon, 08 Feb 2021 16:53:05 GMT                                                                Page 3 of 4
                            Case 1:21-cv-00445-CJN Document 2-105 Filed 02/22/21 Page 6 of 6




Document title: My Pillow CEO Mike Lindell Permanently Suspended From Twitter : NPR
Capture URL: https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-lindell-permanently-suspended-from-twitter
Capture timestamp (UTC): Mon, 08 Feb 2021 16:53:05 GMT                                                                Page 4 of 4
